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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 THOMAS CURTIS and JANICE                                 Cause No:
 CURTIS,

                 Plaintiffs,
                                             COMPLAINT AND REQUEST FOR
 vs.                                             JURY TRIAL AND FOR
                                                DECLARATORY RELIEF
 SAFECO INSURANCE COMPANY
 OF ILLINOIS, SAFECO GENERAL
 AGENCY, INC., SAFECO
 INSURANCE, and JOHN DOES 1-10

                 Defendants.


       Plaintiffs, through their attorneys, allege:

                  I.     PARTIES, JURISDICTION AND VENUE

       1.    Plaintiffs Thomas Curtis and Janice Curtis are residents either of

Austin, Texas or Livingston, Montana. They reside approximately half the year in

each location.
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         2.       Defendant Safeco Insurance Company of Illinois is a Safeco

Corporation subsidiary licensed to provide insurance in the State of Montana and is

domiciled in the state of Illinois, that failed to adjust the Curtis’ claim.

         3.       Defendant Safeco General Agency, Inc. is a Safeco Corporation

Subsidiary licensed to provide insurance in Texas and domiciled in the State of

Washington, that failed to adjust the Curtis’ claim.

         4.       Defendant Safeco Insurance is the company listed in the signature

block of the email of the adjuster that refused to adjust the Curtis’ claim. Safeco

Insurance’s address listed in the signature block of the adjuster is the same as that

listed on the bottom declarations page of Mr. Curtis’ Montana insurance policy

with Safeco Insurance Company of Illinois (all Defendants are hereinafter

collectively referred to as Safeco).

         5.       Defendants John Does 1-10 are other entities, likely parents or

subsidiaries of named Defendants, unknown to Plaintiff at this time due to

Defendants’ unclear policy language, who may have contributed to causing

Plaintiff’s damages.

         6.       Plaintiffs are the proper parties to bring this action because they were

injured by an uninsured motorist, tendered their claim to their insurer, Safeco, and

Safeco failed to adjust their claim.




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         7.       Venue in the Billings Division is proper as Plaintiffs were injured in a

collision by an uninsured motorist in Livingston, Montana, made their claim from

Livingston, Montana and are currently residing in Livingston, Montana.

         8.       Plaintiffs bring their Complaint under federal diversity jurisdiction, 28

U.S.C. § 1332, as the parties are completely diverse in citizenship and the amount

in controversy exceeds $75,000.



                                  II. GENERAL ALLEGATIONS

         9.       On September 12, 2016 Thomas and Janice Curtis were driving west

on Callender Street through the intersection with 7th Street at approximately 20

miles an hour.

         10.      Callender Street had no traffic control at the intersection.

         11.      Callie Elizabeth Pedersen, driving an uninsured 1985 Buick, ran the

stop sign on 7th Street and T-boned the Curtis’s 2007 Toyota Highlander on the

driver’s side at speed.

         12.      Ms. Pedersen was cited for running the stop sign and for not having

liability insurance.

         13.      The force of the impact slammed the Curtis’ SUV to the right.




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         14.      The inside of the left driver’s door slammed into Mr. Curtis’ elbow

and arm, breaking the bone in his left forearm and driving his left hand into the

steering wheel.

         15.      Mr. Curtis’ left hand was lacerated down to the bone between the

thumb and forefinger, in its impact with the steering wheel.

         16.      Mr. Curtis’ right hand was also lacerated to a lesser degree in the

impact.

         17.      The Curtises were taken to Livingston Memorial Hospital via

ambulance for treatment to Mr. Curtis’ broken arm and hand lacerations.

         18.      Mr. Curtis’ injury required stitches, splinting, physical and

occupational therapy.

         19.      Even with this treatment, Mr. Curtis’ injuries resulted in permanent

disfigurement and loss range of motion and strength in his left arm.

         20.      Mrs. Curtis developed soreness, joint and muscular pain a few days

after the collision.

         21.      Mrs. Curtis also had developed a fear of driving.

         22.      All of Mr. and Mrs. Curtis’ automobiles are insured with Safeco.

         23.      Mr. and Mrs. Curtis have a Montana auto policy, numbered

M1781141, with $250,000 in Uninsured (UM) coverage and $10,000 in Medical

Payments (Med Pay) coverage.


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         24.      Mr. and Mrs. Curtis also have a Texas Policy with Safeco, policy

number Y8094113, with $250,000 in UM coverage and $2,500 in Personal Injury

Protection.

         25.      On February 19, 2017, Mr. Curtis made a claim to Safeco on behalf of

himself and his wife.

         26.      Safeco adjusters accepted the claim as an uninsured motorist claim.

         27.      Safeco’s adjusters’ listed address is the same as the address listed on

the Curtis’ Montana Policy’s declarations page.

         28.      Safeco refused to apply Montana law to the claim and refused to

adjust any of the claim under the Curtis’ Montana policy, despite Mr. Curtis’

request that it do so.

         29.      Safeco refused to adjust the claim until Mr. Curtis sent an assurance

that Medicare did not have a lien.

         30.      Mr. Curtis sent Safeco a letter from Medicare stating it did not have a

lien.

         31.      Safeco then insisted that Mr. Curtis sign a release for it to

communicate with Medicare.

         32.      Mr. Curtis sent the release.

         33.      Nothing in the Medicare regulations requires an insurance company to

wait to adjust a claim until a lien is resolved.


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         34.      In fact, a settlement number must be reached prior to lien resolution

so that Medicare can determine the pro rata amount that it will accept as resolution

for any lien that it has.

         35.      To date, more than four months after the claim was made, Safeco has

made no offer of settlement, has not advised Mr. Curtis that he has medical

payments coverage, or advanced any payments under any of the Curtis’s coverages

with Safeco.

         36.      Safeco failed to respond to Mr. Curtis’ last two communications

requesting that it adjust the Curtis’ claim, the last one being made on May 5, 2017.

         37.      As a result of the collision and Safeco’s failure to adjust the claim, the

Curtises have sustained damages, including but not limited to medical bills, lost

income and earning capacity, out of pocket expenses, pain and suffering, loss of

consortium, emotional distress, established course of living and loss of household

services.


                                       III. CLAIMS FOR RELIEF

 COUNT ONE - DECLARATORY JUDGMENT REQUIRING SAFECO TO
                        ADJUST


         38.      Plaintiffs hereby incorporate every other allegation in this Complaint

as though fully set forth herein.



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         39.      Plaintiffs request a declaration, pursuant to 28 U.S.C. §§ 2201 et. seq.,

and applicable Montana law requiring Safeco to adjust their claim under Montana

Code Annotated § 33-18-201(6) and (13) and Montana Code Annotated

§ 33-18-232.

         40.      Plaintiffs also seek a declaration that Montana law applies to their

claim pursuant to Wamsley v. Nodak Mut. Ins. Co., 2008 MT 56, 178 P.3d 102 and

the fact they have a Montana policy with UM and Med Pay coverage that is

personal and portable.

         41.      Plaintiffs also requests supplemental relief, including attorney fees

and costs, as the Court deems appropriate.

         42.      Plaintiffs also requests supplemental relief, including attorney fees

and costs, as the Court deems appropriate.


                         COUNT TWO – BREACH OF CONTRACT

         43.      Plaintiffs hereby incorporate every other allegation in this Complaint

as though fully set forth herein.

         44.      Plaintiffs have insurance policies with Safeco that included UM, Med

Pay and Personal Injury Protection coverage.

         45.      Safeco has failed to offer to pay Plaintiffs’ claim in whole or in part

under any of those coverages.



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         46.      Safeco’s failure to offer any amount to Plaintiffs after four months of

adjusting a claim is a breach of contract.

         47.      Safeco’s breach of contract is a substantial factor in causing damages

to Plaintiffs.



                       COUNT THREE—INSURANCE BAD FAITH

         48.      Plaintiffs hereby incorporate every other allegation in this Complaint

as though fully set forth herein.

         49.      Safeco failed to reasonably investigate Plaintiffs’ claim, failed to

acknowledge that Plaintiffs’ claim was covered under their insurance, and to date

has failed to adjust their claim at all.

         50.      Safeco unreasonably breached its statutory duties to Plaintiffs under

the Montana Unfair Claims Settlement Practices Act by violating Montana Code

Annotated § 33-18-201, et. seq., which provides, inter alia, that an insurer may

not:

         (1) misrepresent pertinent facts or insurance policy provisions relating
         to coverages at issue;
                                   * * * * *
         (4) refuse to pay claims without conducting a reasonable investigation
         based upon all available information;

         (5) fail to affirm or deny coverage of claims within a reasonable time
         after proof of loss statements have been completed;



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          (6) neglect to attempt in good faith to effectuate prompt, fair, and
         equitable settlements of claims in which liability has become
         reasonably clear.

         (13) fail to promptly settle claims, if liability has become reasonably
         clear, under one portion of the insurance policy coverage in order to
         influence settlements under other portions of the insurance policy
         coverage;

         Montana Code Annotated § 33-18-201(1), (4), (5), (6) and (13).

         50.      As a direct and proximate result of Safeco’s violations of the above-

referenced law, Plaintiffs have suffered damages.


                            COUNT FOUR - PUNITIVE DAMAGES

         52.      Plaintiffs hereby incorporate every other allegation in this complaint

as though fully set forth herein.

         53.      Safeco deliberately attempted to save itself money, engaging in

insurance bad faith, by failing to investigate or pay Plaintiffs’ legitimate claim.

Safeco knew that such conduct would harm Plaintiffs.

         54.      This conduct constitutes actual malice as defined in Montana Code

Annotated Section 27-1-221, and justifies imposition of punitive or exemplary

damages in an amount sufficient, in view of the size and wealth of Allstate, to

make an example of its conduct and to deter similar wrongful actions by it and

other insurers.




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                                       IV.   PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs requests the Court grant the following relief:

         1.       Determine that Safeco is liable for compensatory damages in an

amount that is fair and reasonable for all injuries alleged herein;

         2.       For declaratory judgment that Safeco was, and is, obligated to adjust

Plaintiffs’ claim and that Montana law applies to Plaintiffs’ claim;

         3.       For a reasonable sum of money to compensate Plaintiffs for attorneys’

fees and costs incurred incident to the prosecution of this claim, pursuant to the

Montana Declaratory Judgments Act, MCA § 27-8-101, et. seq.; the insurance

exception to the American Rule; and any other applicable law;

         4.       That the Court award Plaintiffs’ punitive damages;

         5.       That the Court award any other relief, including pre-judgment interest,

to which Plaintiffs’ may be entitled at law or in equity, and

         6.       Plaintiff requests a jury trial on all issues so triable.


         Dated this 28th day of June, 2017.

                                             WESTERN JUSTICE ASSOCIATES, PLLC

                                             /s/ Domenic A. Cossi____________
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